 Case 4:21-cv-00595-O Document 157 Filed 12/29/21                Page 1 of 4 PageID 2699



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 SID MILLER, et al.,                           §
                                               §
        Plaintiffs,                            §
                                               §
 v.                                            §        Civil Action No. 4:21-cv-0595-O
                                               §
 TOM VILSACK, in his official capacity         §
 as Secretary of Agriculture,                  §
                                               §
        Defendant.                             §

                                           ORDER
       Before the Court is the Federation of Southern Cooperatives/Land Assistance Fund’s

Emergency Motion to Stay Proceedings Pending Appeal and Request for Expedited Briefing

(ECF Nos. 148, 149), filed December 22, 2021; and the parties’ Responses (ECF No. 155,

156), filed December 29. The Federation appealed the Court’s order denying intervention.

See Notice of Appeal, ECF No. 147. The Federation now requests that the Court stay

proceedings in this case until the Fifth Circuit decides its appeal. In the interest of quickly

resolving the issue, the Court expedited briefing, and the Federation voluntarily waived filing a

reply. See Order, ECF No. 150.

       “A notice of appeal from an interlocutory order . . . only divests the district court

of jurisdiction over those aspects of the case on appeal.” Alice L. v. Dusek, 492 F.3d 563, 564

(5th Cir. 2007) (per curiam). The Court remains “free to adjudicate matters that are not involved

in that appeal.” Weingarten Realty Invs. v. Miller, 661 F.3d 904, 908 (5th Cir. 2011). “A

stay is an ‘intrusion into the ordinary processes of administration and judicial review,’ and

accordingly ‘is not a matter of right, even if irreparable injury might otherwise result to the

appellant.’” Nken v. Holder, 556 U.S. 418, 427 (2009) (citations omitted). The Federation

correctly states that whether to stay proceedings is subject to the Court’s discretion. See

Federation’s Br. 8, ECF No. 149.
  Case 4:21-cv-00595-O Document 157 Filed 12/29/21                     Page 2 of 4 PageID 2700



        The parties discuss some confusion over the proper standard for a stay of proceedings

pending appeal. Traditionally, “the power to stay proceedings is incidental to the power inherent

in every court to control the disposition of the causes on its docket.” Landis v. N. Am. Co., 299

U.S. 248, 254 (1936). The Fifth Circuit has thus applied the Landis standard in determining

whether a stay of proceedings is appropriate. See, e.g., Ali v. Quarterman, 607 F.3d 1046, 1049

(5th Cir. 2010). Contrast the Landis standard to the four-factor standard courts use when evaluating

a stay of an order pending appeal. See Hilton v. Braunskill, 481 U.S. 770 (1987). In short, Landis

applies to stays of proceedings, and Hilton to stays of orders.

        The Fifth Circuit has, once, applied the Hilton standard to a stay of proceedings. In that

case, the Fifth Circuit said that “to determine whether a discretionary stay should be granted, a

district court should use the four-factor test in Hilton.” Weingarten Realty, 661 F.3d at 910 (citation

omitted). The opinion does not mention Landis. And issues that were “neither brought to the

attention of the court nor ruled upon, are not to be considered as having been so decided as to

constitute precedents.” Cooper Indus., Inc. v. Aviall Servs., Inc., 543 U.S. 157, 170 (2004). The

Supreme Court’s clear guidance on the proper standard and the Fifth Circuit’s historic application

of Landis to stays of proceedings assure the Court that Landis applies to the Federation’s motion.

        Courts generally describe the Landis standard in three factors. Those factors are “(1) the

potential prejudice to plaintiffs from a brief stay; (2) the hardship to defendants if the stay is denied;

and (3) the judicial efficiency in terms of the simplifying or complicating of issues, proof, and

questions of law which could be expected to result from a stay.” Coker v. Select Energy Servs.,

LLC, 161 F. Supp. 3d 492, 495 (S.D. Tex. 2015). The applicant “bears a heavy burden to show

why a stay should be granted.” Coastal (Bermuda) Ltd. v. E.W. Saybolt & Co., 761 F.2d 198, 204

n.6 (5th Cir. 1985). The Court finds that the three factors weigh against granting a stay.




                                                    2
 Case 4:21-cv-00595-O Document 157 Filed 12/29/21                    Page 3 of 4 PageID 2701



       First, the Federation has not shown that undue prejudice will result from continued

proceedings. The Court has already granted the Federation permission to proceed as amicus. The

Federation thus retains the opportunity to present arguments and evidence in this case. The

Federation responds that amicus representation is inadequate because it does not afford it the

opportunity to “(1) raise legal issues not raised by any of the other parties, and (2) present expert

and other testimony.” Federation’s Br. 16, ECF No. 149. But even if the Fifth Circuit were to

permit the Federation to intervene, the Federation would not necessarily obtain either of those

opportunities. It is “a firmly established principle that reasonable conditions may be imposed even

upon one who intervenes as of right.” Beauregard, Inc. v. Sword Servs. L.L.C., 107 F.3d 351, 353

(5th Cir. 1997). Indeed, Defendant argued that even if the Court were to permit the Federation to

intervene, it should restrict the Federation from (1) asserting new claims and (2) seeking to conduct

fact discovery or written expert discovery. Def.’s Resp. to Inverv. Mot. 19, ECF No. 136. True,

the Fifth Circuit could order that the Federation be permitted to raise new issues and present expert

testimony. See Hopwood v. Texas, 78 F.3d 932, 938 (5th Cir. 1996). But success on appeal would

not necessarily provide the Federation those remedies. Particularly where the Court has permitted

the Federation to express its views as amicus, it is not unduly prejudiced absent a stay.

       Second, a stay would prejudice the parties. The parties share an interest in resolving this

case quickly, on the Court’s present timeline. That is particularly true where the Court has

preliminarily enjoined enforcement of the statute. See Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17

(2018) (“[T]he inability to enforce its duly enacted plans clearly inflicts irreparable harm on the

State.”); Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (“Any time

a State is enjoined by a court from effectuating statutes enacted by representatives of its people, it

suffers a form of irreparable injury.” (cleaned up)).




                                                  3
 Case 4:21-cv-00595-O Document 157 Filed 12/29/21                    Page 4 of 4 PageID 2702



       Third, the Federation has not shown that a stay of proceedings will benefit judicial

economy. The Fifth Circuit has already granted the Federation’s motion to expedite appeal. See

Notice, ECF No. 154. Appellate briefing will be complete by January 20, 2022, and the Fifth

Circuit has expedited the case to the next available oral argument calendar. Id. Given that timeline,

the Fifth Circuit will likely decide the Federation’s intervention appeal before the parties complete

merits briefing in this Court. Even if the Fifth Circuit orders that the Federation be allowed to

participate in discovery, the Court could expedite discovery to avoid disruption of the current

schedule. In contrast, a stay would indefinitely prolong all filings in this Court.

       The Court would reach the same conclusion under Hilton. Some of the factors overlap, but

Hilton also weighs the applicant’s likelihood of success on the merits. See Hilton, 481 U.S. at 776.

As the Court discussed in its order denying intervention, the Federation faces a presumption that

the government adequately represents the interests of its citizens. See Hopwood v. Texas, 21 F.3d

603, 605 (5th Cir. 1994). The Federation did not rebut that presumption in its intervention motion,

and it does not make a “strong showing” that it will do so on appeal. Weingarten Realty, 661 F.3d

at 910. The Federation wishes “to defend [the] legislation.” Federation’s Br. 13, ECF No. 149. But

that is precisely what Defendant is already doing. The Federation has not shown “a separate

interest” that the government Defendant “will not adequately represent.” Hopwood, 21 F.3d at 606.

The Court would thus deny the motion under Hilton in part because the Federation has not “made

a strong showing that [it] is likely to succeed on the merits.” Hilton, 481 U.S. at 776.

       The Federation has not carried its “heavy burden to show why a stay should be granted.”

Coastal (Bermuda) Ltd., 761 F.2d at 204 n.6. The Court therefore DENIES the Motion to Stay

Proceedings Pending Appeal (ECF No. 148).

       SO ORDERED on this 29th day of December, 2021.


                                                          _____________________________________
                                                          Reed O’Connor
                                                  4
                                                          UNITED STATES DISTRICT JUDGE
